                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF MISSOURI

                                 CENTRAL DIVISION




 MARY HOLMES, L.V., and EMPOWER
 MISSOURI,                                        Case No. 2:22-cv-04026-MDH



                           Plaintiffs,



             -against-



 ROBERT KNODELL, in his official
 capacity as Acting Director of the
 Missouri Department of Social Services,


                           Defendant.




                                STATUS REPORT
      On May 9, 2024, this Court entered its Order on the parties’ cross motions for

summary judgment finding Defendant’s administration of SNAP in Missouri did not

fulfill his obligations under federal law and violated the ADA. ECF 161. The Order

requires Defendant to report call monthly center metrics to this court, as well as

numerous state legislators as well as the Governor’s Office. Accordingly, Defendant

submits the attached to the court, and reports that a copy of same was sent on

February 14, 2025, to each of the persons named in the May 9 order.




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                                            Respectfully Submitted,


                                                 ANDREW BAILEY
                                                 Attorney General of Missouri
                                                 By: /s/ Hardin T. Haynes
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                                                 Assistant Attorney General
                                                 Missouri Attorney General’s Office
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                                                 Jefferson City, MO 65102




                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing document was

forwarded to all attorneys of record via the Court's electronic filing system this 17th day of

February, 2025.




                                                   By:/s/ Hardin T. Haynes




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